Case 2:21-cv-07208-AMD-AYS Document 41 Filed 11/02/22 Page 1 of 1 PageID #: 303




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NEW YORK
 ____________________________________
                                     )
 DR. DANIEL HALLER and LONG          )
 ISLAND SURGICAL PLLC,               )
                                     )
                   Plaintiffs,       )
                                     )
             v.                      )    Civil Action No. 2:21-cv-07208-AMD
                                     )
 U.S. DEPARTMENT OF HEALTH AND )
 HUMAN SERVICES, et al.,             )
                                     )
                   Defendants.       )
 ____________________________________)

         DEFENDANTS’ NOTICE OF NON-OPPOSITION TO PLAINTIFFS’
       MOTION TO EXTEND THE DEADLINE TO FILE A NOTICE OF APPEAL

        Defendants respectfully notify the Court that they do not oppose Plaintiffs’ Motion for

 Extension of Time to File a Notice of Appeal (ECF 39).


 Dated: November 2, 2022                    Respectfully submitted,

                                            BRIAN M. BOYNTON
                                            Acting Assistant Attorney General
                                            ERIC B. BECKENHAUER
                                            Assistant Branch Director
                                            /s/ Anna Deffebach
                                            ANNA DEFFEBACH
                                            Trial Attorney
                                            D.C. Bar No. 241346
                                            D.C. Bar No. 448431
                                            United States Department of Justice
                                            Civil Division, Federal Programs Branch
                                            1100 L Street, NW
                                            Washington, DC 20005
                                            Phone: (202) 305-8356
                                            Fax: (202) 616-8470
                                            E-mail: Anna.L.Deffebach@usdoj.gov

                                            Counsel for Defendants
